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                                                                                        United States District Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                                                                                          November 22, 2024
                         IN THE UNITED ST ATES DISTRICT COURT                             Nathan Ochsner, Clerk
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 WELL CELL GLOBAL LLC, WELL CELL                          §
 SUPPORT LLC, AND DIABETES RELIEF                         §
 LLC,                                                     §
      Plaintiffs,                                         §
                                                          §
 v.                                                       §       CIVIL CASE NO.
                                                          §       4:22-cv-03062-LHR
 SHAWN PAUL CALVIT,                                       §       JURY DEMANDED
 MARC PIERRE DESGRAVES IV,                                §
 CHARLES ALEXANDER ELLIOTT,                               §
 INSULINIC LLC, INSULINIC OF                              §
 LAFAYETTE LLC, INSULINIC OF                              §
 HIALEAH LLC, INSULINIC HAWAII, LLC,                      §
 INSULINIC OF GRETNA, LLC, INSULINIC                      §
 OF HAMMOND, LLC, DIABETES                                §
 MANAGEMENT CLINIC, LLC, AND                              §
 INTEGRAL MEDICINE GROUP, INC.                            §
       Defendants.                                        §


         STIPULATED CONSENT JUDGMENT AND PERMANENT INJUNCTION


TO THE HONORABLE COURT:

         Upon consideration of the Joint Motion for Entry of Stipulated Consent Judgment and

Permanent Injunction filed by Plaintiffs, Well Cell Global LLC, Well Cell Support LLC, and

Diabetes Relief LLC (collectively, "Plaintiffs"), together with Defendants, Shawn Paul Calvit,

Patrick Dale Leleux, MD, Insulinic LLC, Insulinic of Lafayette LLC, Insulinic of Hialeah LLC,

Insulinic of Gretna, LLC, Insulinic of Hammond, LLC, and Integral Medicine Group, Inc.

(collectively, "Settling Defendants"), as well as all papers filed in this action, the Court hereby

ORDERS, ADJUDGES, and DECREES that:

      1. The Court finds that it has jurisdiction of the subject matter of this lawsuit and the amount

         in question is within the jurisdictional limits of this Court.




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   2. The Court finds that it has personal jurisdiction over Settling Defendants.

   3. The Comi finds that venue in this district is proper.

   4. The Court finds that the Settling Defendants have consented to the entry of this Stipulated

        Consent Judgment of Permanent Injunction.

   5. The Court finds that Plaintiff Well Cell Global LLC ("Well Cell Global") owns valuable

        and exclusive rights to United States Patent Number 10,533,990 B2, entitled "physiologic

        insulin-sensitivity improvement," which was duly and legally issued on January 14, 2020,

        and names Scott Hepford, Carol Ann Wilson, and Stanley Tories Lewis, Jr. , among others,

        as the inventors, and United States Patent Number 9,652,595 , entitled "kit that improves

        impaired hepatic glucose processing in patients," which was duly and legally issued on

        May 16, 2017, and names Scott Hepford and Carol Ann Wilson, among others, as the

        inventors (the "Patents"); Well Cell Global also owns all common law and/or registered

        trademark rights to various marks, including the marks "Diabetes Relief," "DRx," and

        "Physiologic Insulin Resensitization" (the "Trademarks"); additionally, Well Cell Global

        holds the exclusive rights to certain creative works, registered with the United States

        Copyright Office under the following Registration Numbers: TX-8-452-464, VAu 1-330-

        086, VA 2-185-843 , and VAu 1-305-789 (the "Copyrighted Works") ; and Well Cell

        Global owns numerous proprietary trade secrets developed as part of its business

        operations that have significant economic value, as more thoroughly detailed in Plaintiffs

        live complaint, and Well Cell Global strictly protects the confidentiality of these trade

        secrets (the "Trade Secrets").

   6.   The Court finds that Well Cell Global's Patents are valid, that Well Cell Global's

        Trademarks are suggestive and distinctive, that Well Cell's Copyrighted Words are original



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       works exclusive to it, and that Well Cell's Trade Secrets are proprieta1y, valuable, and

       confidential.

   7. Settling Defendants and their officers, agents, servants, employees, and attorneys, and upon

       those persons in active conceit or participation with them, who receive actual notice of this

       Stipulated Consent Judgment and Permanent Injunction by personal service or otherwise,

       are immediately and pennanently enjoined and restrained from doing any of the following

       without written autho1ization from Plaintiffs:

           a. Practicing the therapy disclosed in U.S. Patent No. 10,533 ,990;

           b. Using any of the knowledge, information, training, or materials
              taught, delivered, described, or otherwise impaited from Plaintiffs,
              in whole or in part, as part of any medical procedure, treatment,
              therapeutic modality, or otherwise;

           c. Practicing Well Cell Global 's propriety method of insulin
              resensitization, the microburst insulin infusion modality, or any
              other form of exogenous intravenous insulin infusion designed to
              treat diabetes or other metabolic disorders;

           d. Disclosing Plaintiffs' trade secrets, including their confidential
              business contacts and their specialized medical training, including
              their training modules, videos, and handbooks, and methods of
              conducting their business for Well Cell Global's proprietary method
              of insulin resensitization for the treatment of diabetes to any person
              or entity in the United States; and

           e. Representing, by any means whatsoever, that any products
              manufactured, distributed, advertised, offered or sold by the Settling
              Defendants are Well Cell Global's products or vice versa, and from
              otherwise acting in a way likely to cause confusion, mistake, or
              deception on the part of purchasers or consumers as to the origin or
              sponsorship of such products.


   8. Plaintiffs' claims against Settling Defendants are dismissed with prejudice, however

       Settling Defendants are hereby bound to the terms of the injunction provided herein,

       pursuant to Federal Rule of Civil Procedure 65( d)(2)(C) .


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   9. Plaintiff Well Cell Global's bond of $ 10,000.00 deposited in connection with the

       Temporary Restraining Order issued on September 21, 2022 is released, and shall be

       returned, in full , to Plaintiff Well Cell Global.

   10. Plaintiff Well Cell Global 's bond of $50,000.00 deposited in connection with the Order of

       Preliminary Injunction issued on November 10, 2022 is released, and shall be returned, in

       full, to Plaintiff Well Cell Global.

   11 . All claims, defenses, and issues in this action between Plaintiffs and Settling Defendants

       are finally resolved by this Stipulated Consent Judgment and Permanent Injunction.

   12. All attorneys' fees, costs of court, and expenses shall be borne by each pa1ty incmring the

       same.

   13. No security shall be required with respect to the entry of any of the provisions of this

       Stipulated Consent Judgment and Permanent Injunction.

   14. This Court shall retain continuing jurisdiction over the parties and this action for purposes

       of enforcing or adjudicating claims of violations of this Stipulated Consent Judgment and

       Permanent Injunction.

   15. There being no just reason for delay, the Clerk of this Cowt is directed to enter this

       Stipulated Consent Judgment and Permanent Injunction.




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SO ORDERED on ( } ~ / ' 'J) , 2024 at Houston, Texas.

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                                                             Lee H. Ros nthal
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                                                             United States District Judge




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